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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

NIC SALOMON,                                            §
                                                        §
       Plaintiff,                                       §
                                                        §
v.                                                      §      CIVIL ACTION NO.
                                                        §      3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,                         §
LLC, OUTDOOR CHANNEL HOLDINGS,                          §
INC., and PACIFIC NORTHERN CAPITAL LLC,                 §
                                                        §
       Defendants.                                      §

          DEFENDANTS KROENKE SPORTS & ENTERTAINMENT,
       LLC AND OUTDOOR CHANNEL HOLDINGS, INC’S REPLY IN
     SUPPORT OF THEIR MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING

TO THE HONORABLE BARBARA M. G. LYNN, UNITED STATES DISTRICT COURT
CHIEF JUDGE

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                                                                        December 21, 2018




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                                       I. INTRODUCTION

       Mr. Kreitzman’s report “calculates” four categories of damages—lost compensation,

benefit of the bargain, disgorgement of profits, and legal expenses—which cumulatively total up

to $60.90 million. (See ECF No. 248, App. 009–12, Ex. 1-A, Expert Report of Kevin Kreitzman

(“Kreitzman Report”), at 3–6 ¶¶ 5–13). In response to Defendants’ Motion to exclude Mr.

Kreitzman’s opinions (see ECF No. 247, “Motion”), Plaintiff utterly fails even to attempt to

address Defendants’ argument as to the exclusion of Mr. Kreitzman’s largest damages category,

disgorgement of profits, in which Mr. Kreitzman asserted Plaintiff could recover up to $58.14

million.    Similarly, Plaintiff does not address Defendants’ argument that Mr. Kreitzman’s

opinions as to lost compensation and legal expenses, consisting of a simple recital of figures

provided by Plaintiff, are not helpful to the jury.       And while Plaintiff maintains that Mr.

Kreitzman’s opinions on these categories of damages are needed to calculate prejudgment

interest, this is a task a layperson with a calculator can easily accomplish.

       Thus, the only issue truly remaining has to do with Mr. Kreitzman’s alleged benefit of the

bargain opinions. Mr. Kreitzman calculates the value of these damages to be no more than $1.2

million (roughly two percent of the damages he calculates in his opinion), and perhaps as low as

$475,501 (less than 0.7 percent of the total damages). It is truly remarkable, after all the effort

and resources Defendants were forced to expend in defense of this case, how little now is at

stake. And again, as explained in Defendants’ motion for summary judgment and supporting

reply, Plaintiff’s claims are predicated on a baseless theory rejected by both Fifth Circuit and

Texas precedent.

           Plaintiff fails to carry his burden of showing that Mr. Kreitzman’s opinions are reliable

or admissible. Mr. Kreitzman’s opinions therefore should be excluded in their entirety.



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                                        II. ARGUMENT

A.       DEFENDANT DOES NOT DISPUTE THE MOTION TO EXCLUDE MR. KREITZMAN’S
         OPINIONS ON DISGORGEMENT OF PROFITS

         By far, the largest component of Mr. Kreitzman’s damages calculations is his opinion on

  disgorgement of profits, in which he opines that Plaintiff is entitled to disgorgement damages in

  the amount of $58.14 million. (See ECF No. 248, App. 045, Ex. 1-A, Kreitzman Report at 39

  ¶ 81). But as shown in the Motion, disgorgement of profits is unavailable as a remedy under

  Plaintiff’s theories of liability, and in any event, Mr. Kreitzman ignores important evidence

  undermining his calculations of the profits to be disgorged. See Motion at 19–24.

         In his Opposition to the Motion (ECF No. 260-1) (“Opposition”), Plaintiff makes no

  effort to and does not defend Mr. Kreitzman’s disgorgement opinion at all. In fact, the word

  “disgorgement” or any variation thereof does not appear anywhere in the Opposition. By failing

  to respond to Defendants’ argument on this point, Plaintiff has abandoned the issue and Mr.

  Kreitzman’s opinion regarding disgorgement should be excluded. See Kellam v. Servs., No.

  3:12-CV-352-P, 2013 WL 12093753, at *3 (N.D. Tex. May 31, 2013) (“Generally, the failure to

  respond to arguments constitutes abandonment or waiver of the issue.”), aff’d sub nom. Kellam v.

  Metrocare Servs., 560 F. App’x 360 (5th Cir. 2014).

B.       THE LOST COMPENSATION OPINIONS ARE UNHELPFUL AND BASELESS

         1.     Plaintiff Concedes Defendants’ Arguments That Mr. Kreitzman’s Lost
                Compensation Opinions Are Unhelpful

         Mr. Kreitzman’s opinion on lost compensation consists of a mere recitation of Plaintiff’s

  own calculations, with no independent analysis of his own. See Motion at 4. As Defendants

  noted in their Motion, such opinions add nothing of use to the trier of fact and should be

  excluded as unhelpful. Id.; see also U.S. ex rel. Dekort v. Integrated Coast Guard Sys., No.

  3:06-CV-1792-O, 2010 WL 8367619, at *4 (N.D. Tex. Oct. 8, 2010) (“An expert must do more

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than merely repeat a damages estimate provided by the party on whose behalf he is to testify,

especially where he did not attempt to verify the information presented to him.”).1

        2.     There Is No Basis For Mr. Kreitzman’s Lost Compensation Opinions

        Though Plaintiff concedes the Motion as to Mr. Kreitzman’s lost compensation opinions

due to his failure to respond to Defendants’ argument that the opinions are unhelpful, the

problem is not just that an expert is unnecessary to present the calculations. The calculations

themselves are deeply flawed, being premised on rank speculation and baseless assumptions.

        Most fundamentally, Mr. Kreitzman simply assumes the transaction would have closed

but for the alleged breach and interference. This is a fundamentally different assumption than an

assumption of liability (i.e., an assumption of breach or interference). This is a purported factual

assumption on which Mr. Kreitzman’s entire opinion is based. However, as noted in the Motion,

Mr. Holowaty testified that at the end of the day, PNC was not going to fund the entire purchase

price of the Aerial Camera Business, and that PNC and Plaintiff had found no other potential

investors to help fund the purchase. (See ECF No. 248, App. 143–46, Ex. 1-D, Deposition of

Jeff Dean Holowaty, dated July 17, 2017 at 51:2–52:23; 74:14–20; 111:8–17). Plaintiff himself

acknowledged as much. (See id., App. 149, Ex. 1-E, Deposition of Nicolas Salomon, dated May

16, 2018, at 270:5–21). Notably, while Plaintiff levies various supposed assertions of fact

regarding what Outdoor/KSE understood to be PNC’s ability to close the deal (see Opposition at

8–9), he provides none which address the consequences of Mr. Holowaty’s testimony. In light of

Mr. Holowaty’s deposition testimony, the assumption by Mr. Kreitzman that the transaction


1
  Plaintiff claims that Mr. Kreitzman evaluated the claims of lost wages by comparing Plaintiff’s
interrogatory responses to Plaintiff’s historic earnings. See Opposition at 14. Not so: Mr.
Kreitzman claimed only to have “reviewed [Plaintiff’s] calculations” and declared that “they
appear to be accurate based on the assumptions made therein.” (See ECF No. 248, App. 023, Ex.
1-A, Kreitzman Report at 17 ¶ 47).

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would have occurred is speculative at best. Accordingly, it was incumbent on Mr. Kreitzman to

explain why he believed he simply could ignore this dispositive fact in forming his opinion (we

now know he ignored this critical fact because Plaintiff concealed it from him).

       Plaintiff retorts that these points go to the merits and the weight of Mr. Kreitzman’s

opinions, rather than their admissibility. See Opposition at 12–13. But the lack of a sufficient

factual basis in fact goes to admissibility, not just weight. “Federal Rule of Evidence 702(b)

explicitly requires expert testimony to be based on sufficient facts or data.” De Boulle Diamond

& Jewelry, Inc. v. Boulle, Ltd, No. 3:12-CV-01462-L, 2015 WL 12698060, at *2 (N.D. Tex. Jan.

21, 2015); see also Hathaway v. Bazany, 507 F.3d 312, 318 (5th Cir. 2007) (“the existence of

sufficient facts . . . is in all instances mandatory”). “The Daubert reliability analysis applies to,

among other things, the facts underlying the expert’s opinion,” and “an opinion based on

insufficient, erroneous information fails the reliability standard.” Moore v. Int’l Paint, L.L.C.,

547 F. App’x 513, 515 (5th Cir. 2013) (emphasis added; citations and quotation marks omitted).

In such cases, an expert’s opinion “is of such little weight that the jury should not be permitted to

receive that opinion.” Viterbo v. Dow Chem. Co., 826 F.2d 420, 422 (5th Cir. 1987). “If an

opinion is fundamentally unsupported, then it offers no expert assistance to the jury.

Furthermore, its lack of reliable support may render it more prejudicial than probative, making it

inadmissible under Fed. R. Evid. 403.” Id.

        Plaintiff also attempts to defend Mr. Kreitzman’s assumptions by contending that an

expert may base an opinion on facts or data of which he has been made aware, even if those facts

or data are not themselves admissible. See Opposition at 13. But that is exactly the problem:

Mr. Kreitzman was not made aware of these all important facts and data. Plaintiff attaches and

cites a series of documents he claims suggest it was reasonable to assume PNC and Plaintiff



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  would have purchased the Aerial Camera Business and that he would have continued to receive

  similar compensation but for the alleged breach. See Opposition at 15. Yet a review of the

  control numbers on these documents reveals that Mr. Kreitzman did not review any of them in

  preparing his report. (See ECF No. 248, App. 053, Ex. 1-A, Kreitzman Report at 47–54). Nor

  did he read the depositions of Mr. Holowaty or Plaintiff (or any deposition other than that of

  Defendants’ employee Scott Long). (See ECF No. 248, App. 064–65, 088–89, 100, Ex. 1-B,

  Deposition of Kevin Kreitzman, dated October 25, 2018 (“Kreitzman Dep.”) at 65:1–5, 71:10–

  12; 168:24–169:10; 239:9–24). If he had, he would have known that, as Mr. Holowaty testified,

  PNC did not plan to fund the entire purchase price of the Aerial Camera Business, or that as Mr.

  Holowaty and Plaintiff testified, no other investors had stepped forward to make up the

  difference. See Motion at 5–6. Instead, Plaintiff deliberately failed to inform Mr. Kreitzman

  about these critical facts.

          Mr. Kreitzman’s “opinion simply lacks the foundation and reliability necessary to support

  expert testimony.” Viterbo, 826 F.2d at 424.

C.        NO EXPERT TESTIMONY IS NECESSARY OR EVEN HELPFUL TO DISCUSS LEGAL
          EXPENSES OR TO CALCULATE INTEREST

          As Defendants noted in their Motion, Mr. Kreitzman’s opinion on legal expenses, like his

  opinion on lost compensation, simply recited information Plaintiff gave him—thus, his opinion

  used no “scientific, technical, or other specialized knowledge” and is unhelpful to the trier of

  fact. (See Motion at 24–25 (quoting FED. R. EVID. 702(a)). But even as to the calculation of

  interest, whether for lost compensation or legal fees, no “specialized knowledge” is necessary.

  Calculating interest is a matter of simple mathematics; even a layperson, armed with a cheap

  calculator, can perform this task without an expert’s assistance. See Crawford v. Franklin Credit

  Mgmt. Corp., No. 08-CV-6293 (KMW), 2015 WL 13703301, at *6 (S.D.N.Y. Jan. 22, 2015)


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  (precluding expert testimony on damages where “[t]he jury here is fully capable of performing

  the same simple mathematical calculation that [the expert] performs in his report”).

D.       MR. KREITZMAN’S BENEFIT OF THE BARGAIN CALCULATIONS ARE SPECULATIVE

         As noted in the Motion, Mr. Kreitzman attempted to calculate “benefit of the bargain”

  damages by measuring “the value Plaintiff would have received—meaning the value of the

  Aerial Camera Business—had the purchase been completed and had he then become a part

  owner of the business with PNC.” Motion at 9–10 (quoting ECF No. 248, App. 024, Ex. 1-A,

  Kreitzman Report at 18 ¶ 49). But “ ‘a hypothetical, speculative bargain that was never struck

  and would not have been consummated’ cannot serve as a baseline for benefit-of-the-bargain

  damages.” Hoffman v. L & M Arts, 838 F.3d 568, 584 (5th Cir. 2016) (quoting Formosa Plastics

  Corp. USA v. Presidio Engineers and Contractors, Inc., 960 S.W.2d 41, 50 (Tex. 1998)). Mr.

  Kreitzman’s disregard of the obstacles that would have prevented Plaintiff and PNC from

  acquiring the Aerial Camera Business, including the lack of investors and the failure to form the

  acquisition entity, erode away any reliable basis for his benefit of the bargain damages

  calculations. Furthermore, Plaintiff fails to address the deficiencies in Mr. Kreitzman’s various

  attempts to measure the value of the company.

         1.      Plaintiff’s May 2013 Projections (Scenario 1)

         Plaintiff claims the memorandum underlying Mr. Kreitzman’s first attempt to calculate

  the value of the business “lays out a business plan and approach that Mr. Salomon would have

  pursued if he and PNC ended up owning the Aerial Camera Business,” purportedly making the

  projections “more relevant than any other one because they demonstrate the business plan that

  would have been put in place had Plaintiff and PNC bought the company.” Opposition at 20.

  But in relying on this memorandum, Mr. Kreitzman ignored at least two critical points.



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       First, these projections were prepared—by Plaintiff himself—after KSE had already

acquired Outdoor. (See ECF No. 248, App. 022, Ex. 1-A, Kreitzman Report at 16 ¶ 46; App.

076–77, 090, Ex. 1-B, Kreitzman Dep. at 97:17–98:10, 188:15–20). The projections were thus

made under the assumption that the business would have all the advantages of its affiliation with

the KSE sports and sports-related companies, such as investment capital and significant

relationships. Plaintiff baldly asserts that the projections follow the business plan he would have

pursued had he and PNC acquired the Aerial Camera Business (see Opposition at 20), but he

offers no support for this declaration other than his self-serving say-so. There is no reason to

think the standalone entity, lacking affiliation with KSE, could have kept pace with the

projections designed with these advantages in mind, if it could have functioned at all.

       Second, and more fundamentally, the projections themselves, following the plan Plaintiff

claims he would have followed, never translated into reality. To any reasonable and honest

observer, the fact that actual revenues fell well short of the projections would naturally call the

reliability of the projections into question.    Not to Mr. Kreitzman, who gave reality no

consideration at all. (See ECF No. 248, App. 081, Ex. 1-B, Kreitzman Dep. at 115:11–21)

(financial results of Aerial Camera Business between 2013 and time of Mr. Kreitzman’s report

were “not relevant to the valuation,” and so not relevant to the ultimate benefit of the bargain

damage analysis).

       Plaintiff attempts to defend Mr. Kreitzman’s use of the projections and disregard of

historical performance by claiming that Texas courts “routinely uphold the use of projections as

a means of proving damages.” Opposition at 20. Notably, not one of the cases he cites in

support of this claim involved a Daubert motion.          And in these cases, actual historical




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performance in fact played a fundamental role in the experts’ analyses (a point Plaintiff neglects

to mention).

       For example, in VingCard A.S. v. Merrimac Hosp. Sys., Inc., 59 S.W.3d 847, 863 (Tex.

App. 2001), the expert found support for his estimate of the number of units that would be

purchased in a year by looking to the number of units that were actually purchased. Likewise, in

Baker v. Habeeb, No. 05-16-01209-CV, 2018 WL 1835566, at *6 (Tex. App. Apr. 18, 2018), the

expert “used the historical sales, sales histories of other like programming, and other information

he had access to through his experience in the business to formulate the valuation.” And in Wise

Elec. Coop., Inc. v. Am. Hat Co., 476 S.W.3d 671, 708 (Tex. App. 2015), “[a]s a ‘reality check’

to test the validity of his 2005 forecast, [the expert] compared his 2005 but-for sales projection to

the actual sales achieved.” By contrast, in Phillips v. Carlton Energy Grp., LLC, 475 S.W.3d

265, 281 (Tex. 2015), the court criticized an expert’s projections as “completely conjectural” and

“demonstrably unrealistic” where they had not translated into reality: a 2007 report “indicated

that total reserves were only a fraction of what he had projected in 2004,” while “the costs of

completing the [project] greatly exceeded [the expert’s] expectations.”

       Plaintiff nevertheless contends that Mr. Kreitzman need not have looked to the actual

performance of the Aerial Camera Business because benefit of the bargain damages are

measured “at the time of breach, not the time of trial.” Opposition at 21 (citing O.C.T.G., L.L.P.

v. Laguna Tubular Prod. Corp., 557 S.W.3d 175, 191 (Tex. App. 2018)). But “[t]he objective in

awarding damages for a breach of contract is to provide just compensation for the loss actually

sustained by the complaining party.” O.C.T.G., 557 S.W.3d at 191 (emphasis added). The

actual performance of the company seriously weakens (nay guts) the foundation for Mr.

Kreitzman’s opinion and the case for its admissibility. See Viterbo, 826 F.2d at 423.



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       2.      The Lazard Fréres Valuation (Scenario 2)

       Mr. Kreitzman’s second scenario attempts to calculate the value of the Aerial Camera

Business based on a valuation by Lazard Fréres, an investment bank financial advisor to

Outdoor. (See ECF No. 248, App. 039, Ex. 1-A, Kreitzman Report at 33 ¶ 72). Whatever else

can be said about the Lazard report, the fact remains, as Plaintiff admits, that Mr. Kreitzman has

never seen it. See Opposition at 23 n.4. Thus, he could not possibly assess the assumptions

made in that report or responsibly rely on it to determine the value of the business. See GWTP

Investments, L.P. v. SES Americom, Inc., No. 3:04-CV-1383-L, 2007 WL 7630459, at *10 (N.D.

Tex. Aug. 3, 2007) (“Although evidence relied upon by an expert need not be admissible if of a

type reasonably relied upon by experts in that particular field, it seems apparent that an expert in

the area of valuation may not reasonably rely upon unseen and unverified data.”).

       As was true of the calculations in his first scenario, moreover, the Lazard report could not

have taken into account the actual performance of the company in the years for which the

revenues on which its valuation was based were forecasted; indeed, as the relevant Proxy

statement reflects, the Lazard report was not intended as a calculation of fair market value at all;

it was a discounted cash flow valuation. Mr. Kreitzman, by contrast, had this actual performance

information at his disposal, yet he chose to ignore it.

       3.      Purchase Price of Company (Scenario 3)

       Mr. Kreitzman’s third scenario simply assumes that the value of the company was equal

to the maximum purchase price proposed by Plaintiff and PNC, $4.05 million. (See App. 042–

43, Ex. 1-A, Kreitzman Report at 36–37 ¶ 77). But Plaintiff goes too far when he suggests that

Defendants do not in fact challenge Mr. Kreitzman’s third scenario. See Opposition at 23. As

detailed in the Motion, the calculations in the third scenario suffer from still other fundamental



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defects, which ultimately undermine any effort to translate the value of the company into

damages recoverable by Plaintiff.

       In the third scenario, as with the others, Mr. Kreitzman takes the assumed value of the

Aerial Camera Business and allocates a portion of that value to what he assumes would have

been Plaintiff’s equity stake in the business. (See ECF No. 248, App. 044, Ex. 1-A, Kreitzman

Report at 38 ¶ 79). As Mr. Kreitzman knew, however, PNC and Plaintiff never agreed on the

equity structure for the purchase of the Aerial Camera Business, let alone what shares and

options might have been allocated in the future. (See id., App. 072–73, Ex. 1-B, Kreitzman Dep.

at 92:17–93:14). Though Plaintiff had proposed an equity structure to PNC, Mr. Kreitzman

admits this structure was not agreed to by PNC and could have been modified or changed, even

assuming some agreement would ultimately be reached. (See id., App. 074, Ex. 1-B, Kreitzman

Dep. at 94:10–16). Yet Mr. Kreitzman accepts as certain Plaintiff’s speculative interest in the

company.

       Given these failings, Mr. Kreitzman cannot state Plaintiff’s benefit of the bargain

damages with reasonable certainty under any scenario. For these reasons, his opinions regarding

benefit of the bargain damages, along with his opinions on the other categories of damages, must

be excluded.

                                    III. CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court grant their

Motion and exclude the testimony of Kevin Kreitzman in its entirety.




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Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        This is to certify that on this 21st day of December, 2018, I caused the foregoing
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CHANNEL          HOLDINGS, INC.’S REPLY IN SUPPORT OF THEIR MOTION
PURSUANT TO FED. R. EVID. 702 TO EXCLUDE TESTIMONY OF KEVIN
KREITZMAN AND REQUEST FOR HEARING to be electronically submitted with the
Clerk of Court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the Court.

                                                           /s/Kevin D. Evans
                                                           Kevin D. Evans




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